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       8   United States Trustee for Region 17

       9                              UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF CALIFORNIA
      10                                    SACRAMENTO DIVISION
      11
            In re                                           )      Case No. 19-21640-B-11
      12                                                    )
            DEBORA LEIGH MILLER-ZURANICH,                   )      Chapter 11
      13                                                    )
                                                            )
      14                                                    )
                                          Debtor.           )
      15                                                    )
      16                     NOTICE OF APPEARANCE AND REQUEST FOR NOTICE
      17            PLEASE TAKE NOTICE that the undersigned attorney hereby appears under Fed. R.
      18
           Bankr. P. 9010 for Tracy Hope Davis, the United States Trustee for Region 17, and requests to
      19
           be added to the electronic service matrix and that all required notices, pleadings and documents
      20
           be directed to:
      21
      22                     Office of the United States Trustee
                             Attn: Robin Tubesing
      23                     2500 Tulare Street, Suite 1401
                             Fresno, CA 93721
      24
                             Email: robin.tubesing@usdoj.gov
      25
                                                           Respectfully Submitted,
      26
           Dated: July 9, 2019                             /s/ Robin Tubesing
      27
                                                           Robin Tubesing, Trial Attorney
      28                                                   Attorney for Tracy Hope Davis,
                                                           United States Trustee for Region 17
